          Case 2:08-cr-00376-WBS Document 350 Filed 03/19/12 Page 1 of 1


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 7
 8                     IN THE UNITED STATES DISTRICT COURT
 9                    FOR THE EASTERN DISTRICT OF CALIFORNIA
10
11   UNITED STATES OF AMERICA,             )   CASE NO. S-08-376 EJG
                                           )
12                      Plaintiff,         )
                                           )    ORDER
13   v.                                    )
                                           )
14                                         )
     KESHA HAYNIE,                         )
15                      Defendant(s).      )
                                           )
16                                         )
17
18   IT IS HEREBY ORDERED THAT:
19        Good cause having been shown, the government may make the
20   disclosures and produce the discovery to the defense as requested in
21   its application of March 16, 2012.
22        IT IS SO ORDERED.
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     Date: March 16, 2012             /s/ Edward J. Garcia
24                                    Hon. EDWARD J. GARCIA
                                      United States District Judge
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